                   UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA

JANE DOE,                               :

                 Plaintiff,             :     CIVIL ACTION NO. 23-585

       v.                               :         (JUDGE MANNION)

LEHIGH VALLEY HEALTH                    :
NETWORK, INC.,
                                        :
                 Defendant.

                                   ORDER

      Presently before the court is plaintiff’s motion to remand, (Doc. 13).

Plaintiff filed a brief in support, (Doc. 14). Defendant, Lehigh Valley Health

Network (“LVHN”), filed a brief in opposition, (Doc. 23). Plaintiff then filed a

reply brief, (Doc. 27). The Court requested supplemental briefing pertaining

to potential class members LVHN has already sent notices to and will send

notices related to the security incident. (Doc. 28). Pursuant to the Court’s

order, LVHN filed a notice, (Doc. 34), with approximately 1100 names and

addresses known to LVHN at that point in time. LVHN then filed a

supplemental notice, (Doc. 36), with an additional review of the 100,000

individuals referenced in their prior notice to the Court.
          I.   DISCUSSION

      “Courts have an independent obligation to determine whether subject-

matter jurisdiction exists, even when no party challenges it.” Hertz Corp. v.

Friend, 559 U.S. 77, 94 (2010); see also Nesbit v. Gears Unlimited, Inc., 347

F.3d 72, 77 (3d Cir. 2003) (explaining that “the court can raise sua sponte

subject-matter jurisdiction concerns”). “[T]he burden of establishing [subject-

matter jurisdiction] rests upon the party asserting jurisdiction.” Kokkonen v.

Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).

      The parties agree that LVHN has properly removed this matter under

the Class Action Fairness Act (“CAFA”). 1 The Third Circuit has explained that

once the removing party has properly removed the action to federal court,

the party seeking to invoke an exception bears the burden of proving by a

preponderance of evidence that the exception applies. Vodenichar v. Halcon

Energy Properties, Inc., 733 F.3d 497, 503 (3d Cir. 2013) (citing Kaufman v.

Allstate New Jersey Insurance Co., 561 F.3d 144, 151 (3d Cir. 2009)).

Pursuant to the court’s obligation to ensure jurisdiction exists, the Court



      1
        Under CAFA, (1) the amount in controversy must exceed $5,000,000
across all individual claims; (2) minimally diverse parties; and (3) the class
consists of at least 100 or more members (“numerosity requirement”). 28
U.S.C. §1332(d)(2), 5(B), (6); Judon v. Travelers Property Cas. Co. of
America, 773 F.3d 495, 500 (3d Cir. 2014). Each element is met in this
matter.

                                     -2-
issued an order, (Doc. 28), to determine if “two-thirds or more of the

members of all proposed plaintiff classes in the aggregate … are citizens of

the State in which the action was originally filed.” 28 U.S.C. §1332(d)(4)(B).

        In response to the Court’s order, LVHN filed a notice and supplemental

notice. (Docs. 34 & 36). The parties are now in agreement that both elements

of §1332(d)(4)(B) are met: (1) Two-thirds of the proposed class are citizens

of the state from which the action arises, Pennsylvania; and (2) the primary

defendant is a citizen of the State in which the action was originally filed. See

Ellis v. Montgomery Cnty., 267 F. Supp. 3d 510, 516 (E.D. Pa. 2017). As

such, the Court will remand the case.

        In light of the foregoing, IT IS HEREBY ORDERED THAT:

            (1) The above-captioned action is REMANDED to the Court of

                Common Pleas for Lackawanna County.

            (2) The Clerk of the Court is directed to CLOSE the federal action.

            (3) The Clerk of the Court is directed to mail a certified copy of this

                order of remand to the Clerk of the Court of Common Pleas of

                Lackawanna County.

                                            s/ Malachy E. Mannion
                                            MALACHY E. MANNION
                                            United States District Judge

DATE: June 26, 2023
23-585-02


                                        -3-
